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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                    CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                      Defendant.

_______________________________/


             ENRIQUE TARRIO’S EMERGENCY MOTION FOR FURLOUGH


       COMES NOW the Defendant, Enrique Tarrio, by and through his attorneys, and

respectfully moves this Honorable Court to allow him a short furlough to attend the funeral of his

grandmother Rosa Pardo Tarrio.

       Rosa Pardo Tarrio raised Enrique Tarrio. Mr. Tarrio is devastated by the news of her

passing and very much wishes to be present at her funeral and cremation ceremony.

       The funeral would be on Friday September 9, 2022 from 3:00PM-11:00PM at La Paz

Funeral Home, 3500 NW 7 Street, Miami, Florida 33125, and the cremation ceremony would be

on Saturday September 10, 2022 from 9:00AM-1:00PM at the same location. After the funeral

and cremation ceremony, Mr. Tarrio will return to FDC Miami. All expenses of the furlough will

be paid by the Tarrio family.

       Undersigned counsel conferred with the government regarding their position to the

instant motion, and they will defer to this Honorable Court.




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       WHEREFORE, Tarrio respectfully moves this Honorable Court to allow a short

furlough to attend the funeral and cremation ceremony of his grandmother.

                                                     Respectfully submitted,
                                                     /s/ Nayib Hassan
                                                     Florida Bar No. 20949
                                                     Attorney for Defendant
                                                     Law Office of Nayib Hassan, PA
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                                                     /s/ Sabino Jauregui, Esq.
                                                     Florida Bar Number 503134
                                                     Jauregui Law, P.A.
                                                     1014 West 49 Street
                                                     Hialeah, Florida 33012
                                                     Phone 305-822-2901
                                                     FAX 305-822-2902


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

noticed through the CM/ECF system to the US Attorney’s Office on this 8th day of September,

2022 to the following:

       Jason McCollough
       Erik Kenerson
       Nadia Moore
       Conor Mulroe

                                                     /s/ Nayib Hassan
                                                     Florida Bar No. 20949
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